         Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 1 of 13



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                            Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                 Defendant.



                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                      MOTION FOR GRAND JURY INSTRUCTIONS

       The United States of America, by and through undersigned counsel, respectfully opposes

the motion of Defendant Concord Management and Consulting LLC (“Concord”) for disclosure

of grand jury instructions pursuant to Federal Rule of Criminal Procedure 6(e)(3)(E)(ii). See Doc.

217. The motion is without merit and should be denied.

       Rule 6(e)(3)(E)(ii) authorizes disclosure of grand jury material “at the request of a

defendant who shows that a ground may exist to dismiss the indictment because of a matter that

occurred before the grand jury.” However, a defendant must show a “particularized need” or

“compelling necessity” to justify such disclosure, given the “strong secrecy protections”

surrounding grand jury matters. See United States v. Procter & Gamble Co., 356 U.S. 677, 681 &

n.6 (1958). This is a “heavy burden,” United States v. Apodaca, 287 F. Supp. 3d 21, 47 (D.D.C.

2017), met only in “exceedingly rare cases.” United States. v. Naegele, 474 F. Supp. 2d 9, 10-11

(D.D.C. 2007).

       Concord’s primary argument is that disclosure is necessary because, as it claims, the

government has repeatedly shifted its theory of criminal liability in this case, including through its
        Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 2 of 13



October 4, 2019, letter to the defense, in which the government supplemented its bill of particulars

with regard to reporting requirements under the Foreign Agents Registration Act (FARA). See

Doc. 217 at 1-10, 13-19; Doc. 217-4 (October 4 letter). Concord most recently pressed this same

claim in its renewed motion to dismiss. See Doc. 210 at 28-29; see also Doc. 181 at 4-6 (making

similar claim of a “changed theory of liability”).

       Even taken at face value, Concord’s claim provides no basis for disclosure of grand jury

instructions, because Concord fails to articulate how such disclosure would advance an argument

for dismissal, as required by Rule 6(e)(3)(E)(ii), let alone how disclosure would satisfy a

“particularized need” or “compelling necessity,” as required by the Supreme Court. In any event,

as the government most recently argued in response to the renewed motion to dismiss, Concord’s

central premise—that the government has improperly shifted its theory of criminal liability—is

simply erroneous. See Doc. 219 at 14. For these reasons, the Court should deny Concord’s motion.

                                        BACKGROUND

       I.      The Indictment

       On February 16, 2018, a grand jury returned an eight-count Indictment against thirteen

individuals and three corporate defendants, including Concord. The Indictment alleges that the

defendants “knowingly and intentionally conspired with each other . . . to defraud the United States

by impairing, obstructing, and defeating the lawful functions of the government through fraud and

deceit for the purpose of interfering with the U.S. political and electoral processes, including the

presidential election of 2016.” Doc. 1 ¶ 2. This conspiracy is charged in Count One as a violation

of 18 U.S.C. § 371. See id. ¶¶ 8-85. According to the Indictment, the conspiracy included a

Russian organization, defendant Internet Research Agency LLC (IRA), that conducted what it

called “information warfare” against the United States to spread “distrust towards the candidates”



                                                 2
        Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 3 of 13



in the 2016 election and “the political system in general” and to favor one candidate for President.

Id. ¶¶ 3, 6, 10. Defendant Yevgeniy Prigozhin approved, supported, and funded the IRA’s

operations through other Russian entities that he directly controls, particularly defendant Concord

Management and Consulting LLC and a second entity, defendant Concord Catering. Id. ¶¶ 3, 11-

12.

       Describing the lawful government functions relevant to Count One, the Indictment explains

that the United States, “through its departments and agencies, regulates the activities of foreign

individuals and entities in and affecting the United States in order to prevent, disclose, and

counteract improper foreign influence on U.S. elections and on the U.S. political system” Doc. 1

¶ 1. The Indictment also identifies certain U.S. government agencies—the Federal Election

Commission (FEC), the Department of Justice (DOJ), and the Department of State—that are

charged with enforcing laws and regulations concerning such activities. Id. For example, the FEC

“administers the Federal Election Campaign Act (‘FECA’),” which imposes limitations on certain

contributions and expenditures and imposes reporting requirements.           Id. ¶ 25.   The DOJ

“administers the Foreign Agents Registration Act (‘FARA’),” which “establishes a registration,

reporting, and disclosure regime for agents of foreign principals.” Id. ¶ 26. And the State

Department is responsible for the issuance of non-immigrant visas, applicants for which must

provide truthful information in response to questions on the visa application form. Id. ¶ 27.

       The Indictment does not charge any defendant with a criminal violation of FECA or FARA.

Rather, the defendants are charged, pursuant to 18 U.S.C. § 371, with knowingly and intentionally

conspiring to defraud the United States by impairing, obstructing, and defeating the lawful

functions of the FEC, DOJ, and State Department, through fraud and deceit. Doc. 1 ¶¶ 7, 9. The

Indictment alleges that the defendants’ fraud and deceit included, among other conduct, “making



                                                 3
         Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 4 of 13



expenditures in connection with the 2016 U.S. presidential election without proper regulatory

disclosure; failing to register as foreign agents carrying out political activities within the United

States; and obtaining visas through false and fraudulent statements.” Id. ¶ 7. The Indictment

alleges a host of additional deceptive means employed by the defendants to hide their Russian

origin and to impede U.S. government functions, including surreptitious intelligence gathering in

the United States by foreign agents, influence operations conducted through false online personas,

and staging U.S. political rallies in the United States. See id. ¶¶ 29-38, 51-57. 1

       II.     Bill of Particulars and Concord’s Renewed Motion to Dismiss

       On May 24, 2019, the Court partially granted Concord’s motion for a bill of particulars

(Doc. 104), in which the defendant sought additional information regarding, among other things,

allegations in the Indictment regarding FECA and FARA. Doc. 136 (Order). The Court stated

that “[t]he indictment alleges that the defendants agreed to a course of conduct that would violate

FECA’s and FARA’s disclosure requirements . . . and provides specific examples of the kinds of

expenditures and activities that required disclosure . . . , [b]ut the indictment does not cite the


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        On May 14, 2018, Concord moved for in camera inspection of the legal instructions
provided to the grand jury regarding Count One of the Indictment, “to determine whether the
instructions provided could support a motion to dismiss.” Doc. 11. Previewing its contemplated
motion to dismiss, Concord asserted that the mens rea alleged in the Indictment (requiring
defendants act “knowingly and intentionally”) was incorrect, and that a “willfulness” standard
should apply. Doc. 11 at 5-7. The Government opposed, arguing that (1) Concord had failed to
meet its legal burden of showing a “particularized need” or “compelling necessity” for such relief
and (2) in any event, the premise of Concord’s motion—that Count One was defective for failing
to allege “willfulness”—was erroneous.

        On June 15, 2018, the Court denied the motion for in camera review without prejudice,
noting that, if the Court were to rule against Concord regarding the applicable mens rea, the motion
regarding grand jury material “would have no basis.” Doc. 28 at 2. The Court concluded that
“[t]his legal question should be decided before the Court considers reviewing secret grand jury
proceedings.” Id. On November 15, 2018, the Court ruled against Concord regarding the
applicable mens rea, denying Concord’s motion to dismiss and stating that the government
“alleged the requisite intent” and “no more is required.” Doc. 74 at 25.

                                                  4
         Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 5 of 13



specific statutory and regulatory disclosure requirements that the defendants violated. Nor does it

clearly identify which expenditures and activities violated which disclosure requirements.” Id. at

12. Accordingly, the Court ordered the government to “[i]dentify any statutory or regulatory

disclosure requirements whose administration the defendants allegedly conspired to impair,” and,

with respect to FARA, to “identify each category of activities that the government intends to

establish triggered a duty to register as a foreign agent under FARA” and “identify for each

category of activities which disclosure provisions the defendants or their co-conspirators allegedly

violated.” Id.

       On July 5, 2019, the government complied. See Doc. 176. With respect to FARA, the

government stated:     “The indictment alleges, and the evidence at trial will show, that the

conspirators used social media platforms, political advertising, and political rallies to influence

public opinion on political matters and to interfere in the 2016 U.S. presidential election. Doc. 1

¶¶ 32-57. This conduct triggered FARA’s reporting requirement. 22 U.S.C. § 612(a); see 22

U.S.C. § 611(c)(1)(i), (ii), (iv); see also 22 U.S.C. § 611(g), (h), (o).” Doc. 176 at 3.

       On August 19, 2019, Concord moved for a supplemental bill of particulars, claiming that,

with respect to FARA, the government’s bill failed to indicate “who was supposed to register or

the name of the foreign principal to be disclosed.” Doc. 181 at 19. On September 16, 2019, the

Court held argument on the motion, at the conclusion of which the Court ordered that the

government identify, to the extent it had not already, every individual or entity that the government

will argue at trial was required to register under FARA as a foreign agent or was a foreign principal.

See Sept. 16, 2019 Hrg. Tr. 49-51. The government noted that the category identified by the Court

was “not exactly the same thing” as the category of indicted and unindicted co-conspirators that

the government had disclosed in its earlier bill of particulars, which the government filed based on



                                                  5
        Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 6 of 13



its understanding of the Court’s May 24, 2019, ruling. Id. at 51. As the government explained,

“it is possible for a conspirator to cause someone to violate . . . FARA reporting requirements

without that person being a member of the conspiracy.” Id.

       On October 4, 2019, the Government complied with the Court’s September 16, 2019, order,

explaining to Concord by letter that:

       The government intends to argue at trial that the defendants conspired to cause . . .
       individuals or organizations to act as agents of a foreign principle while concealing
       from those individuals or organizations the fact that they were acting as agents of a
       foreign principle and therefore either the individuals or organizations or the
       conspirators (or both) would have had a legal duty to register under [FARA].

Doc. 217-4. The government’s letter then listed the relevant individuals and organizations. Id.

       In its October 7, 2019, renewed motion to dismiss, Concord presents a series of complaints

that, in its view, amount to a violation of due process requiring dismissal. Doc. 210. Among those

arguments are several of the same points made in the instant motion, including Concord’s primary

claim that “the government, from the inception of this case, treated the charges against Concord

as a moving target,” and, with its October 4 letter, “changed its FARA theory again.” Id. at 28.

The motion to dismiss also argues that the “changed” theory “deprives Concord of fair notice of

the actual charge,” raising a “double-jeopardy danger,” id. at 28, 40, and that recent case law,

including Reihaf v. United States, 139 S. Ct. 2191 (2019), and United States v. Burden, 934 F.3d

675 (D.C. Cir. 2019), calls for reexamination of the Court’s ruling on mens rea. Id. at 31-40. The

instant motion repeats these points. See Doc. 217 at 16-17 (“notice” and “double-jeopardy”); id.

at 17-19 (Reihaf and Burden).

                                        LEGAL PRINCIPLES

       Proceedings before the grand jury are surrounded by strong secrecy protections that serve

compelling, historically grounded purposes. See United States v. Procter & Gamble Co., 356 U.S.



                                                6
         Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 7 of 13



677, 681 & n.6 (1958). “This indispensable secrecy of grand jury proceedings . . . must not be

broken except where there is a compelling necessity.” Id. at 682 (internal quotation marks and

citation omitted).   And there is “a presumption of regularity, with respect to grand jury

proceedings, which generally may be dispelled only upon particularized proof of irregularities in

the grand jury process.” United States v. Apodaca, 287 F. Supp. 3d 21, 47 (D.D.C. 2017) (internal

quotation marks and citation omitted).

       Rule 6(e)(3)(E)(ii) provides a narrow exception: “The court may authorize disclosure—at

a time, in a manner, and subject to any other conditions that it directs—of a grand-jury matter . . .

at the request of a defendant who shows that a ground may exist to dismiss the indictment because

of a matter that occurred before the grand jury.” However, a court may only exercise its discretion

under this rule “when the defendant succeeds in carrying the heavy burden of showing that a

particularized need exists that outweighs the policy of secrecy.” Apodaca, 287 F. Supp. 3d at 47.

       Thus, only in “exceedingly rare cases” are defendants “able to make a factually based

showing of particularized need for the production and inspection of grand jury materials.” United

States. v. Naegele, 474 F. Supp. 2d 9, 10-11 (D.D.C. 2007) (allowing inspection of grand jury

minutes because government misled the grand jury about the existence of a page of a document

that had been the basis for “[a]t least five counts of the original eleven-count indictment”); see also

Apodaca, 287 F. Supp. 3d at 47-48. “Where a defendant fails to provide a discrete reason, and

instead relies on speculation or unsupported assumptions, courts have made clear that disclosure

of grand jury minutes is not warranted.” Apodaca, 287 F. Supp. 3d at 47 (collecting cases).

                                           ARGUMENT

       I.      Concord Has Not Demonstrated a “Compelling Necessity” or “Particularized
               Need” to Break Grand Jury Secrecy.

       Concord’s primary argument is that disclosure of grand jury instructions is necessary

                                                  7
         Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 8 of 13



because, as it claims, the government has shifted its theory of criminal liability in this case,

including through its October 4, 2019, letter to the defense. See Doc. 217 at 1-10, 13-19; Doc.

217-4 (October 4 letter). Concord claims that the letter reflects a “brand-new theory of culpability”

and argues that “[t]he ever-changing nature of the charges in this proceeding raises serious doubts

about the instructions received by the grand jury as related to what the government now claims it

will prove.” Doc. 217 at 7, 13. 2

       Even assuming that Concord’s claim regarding the government’s allegedly “brand-new

theory of culpability” had merit (which it does not), the relief that Concord requests—disclosure

of grand jury instructions—is a non sequitur. Concord is free to argue that, based on its

interpretation of the Indictment, the government should be precluded at trial from presenting the

argument noted in its October 4 letter regarding FARA. Indeed, it makes that argument in the

instant filing: “The Indictment does not appear capable of being construed to encompass the

government’s new theory of FARA criminality . . . , [a]nd if it cannot be construed that way, then

the prosecution’s attempt to inject that theory now must be seen for what it is: an impermissible

constructive amendment of the indictment that must be blocked.” Doc. 219 at 15.

       It is not at all necessary, however, to break grand jury secrecy for Concord to make this

challenge to the Indictment, and Concord has thus failed to offer a “compelling necessity” or

“particularized need” for the requested disclosure, as required for relief under Rule 6(e)(3)(E)(ii).



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        Concord pressed the same claim in its renewed motion to dismiss, arguing that due process
requires dismissal of the Indictment because the government has “treated the charges against
Concord as a moving target” and, with the October 4 letter, “changed its FARA theory again.”
Doc. 210 at 28-29. As the government noted in opposing the motion to dismiss, Concord had
merely “dressed up in due process garb a list of arguments that this Court ha[d] previously
rejected.” Doc. 219 at 7. Here, Concord has dressed up one of those same arguments—the claim
that the government “changed its FARA theory”—in the garb of a motion to disclose grand jury
instructions. The claim fails in the renewed motion to dismiss, and it fails here.

                                                 8
        Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 9 of 13



Concord’s own motion makes the government’s point. First, Concord asserts in conclusory

fashion that, “to protect Concord’s Fifth Amendment rights and enable it to fully defend this case,

the legal instructions provided to the grand jury must be disclosed.” Doc. 217 at 3. In the next

breath, however, Concord reveals that the grand jury instructions really make no difference: “If

the Special Counsel never instructed the grand jury on any of the government’s ever-changing

theories—the recent foreign-agent-registration riddle in particular—then this case should end for

that reason. And if the Special Counsel did instruct the grand jury on the government’s constantly

shifting theories, the absence of those theories from the Indictment supports the same result.” Id.;

see also id. at 15-16 (making the same point). In other words, the instructions are of no moment

in Concord’s view, because the Indictment, on its face, cannot support the government’s supposed

“brand-new theory of culpability.” That is not a basis for disclosure, notwithstanding Concord’s

conclusory demand that it is “entitled to know what occurred” in the grand jury. Id. at 3. 3

       Concord has not cited any decision that has found a “compelling necessity” or

“particularized need” to break grand jury secrecy under circumstances similar to those presented

here. And members of this Court have not hesitated to deny motions for disclosure or even in

camera review of grand jury material, including legal instructions, under circumstances where

defendants identified arguably more compelling necessities than Defendant does here, but still

failed to meet the “heavy burden” of breaking grand jury confidentiality. See, e.g., Apodaca, 287

F. Supp. 3d at 21. (denying motion for in camera inspection of grand jury instructions where

defendant claimed that extradition request contained an “incomplete statement of the law”); United


3
       The government, of course, disagrees with the suggestion that its October 4 letter reflects
an impermissible “constructive amendment” of the Indictment. See Doc. 219 at 15. This Court,
however, as court routinely do, will ensure that all charges and theories submitted to the trial jury
will comport with the Indictment. Nothing about that process necessitates or justifies disclosure
of grand jury instructions.

                                                 9
        Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 10 of 13



States v. Wright, 234 F. Supp. 3d 45, 47–48 (D.D.C. 2017) (denying motion for disclosure of grand

jury material where defendant questioned the date on which the grand jury was sworn, as well as

“attempt” language in the indictment and the omission of the foreperson’s signature on the publicly

docketed indictment); United States v. Trie, , 62 (D.D.C. 1998) (denying motion for disclosure of

instructions given to grand jury where defendant alleged that government may have erred in

defining “hard money” and “soft money” contributions under FECA). 4

       Concord’s request for disclosure also recycles other arguments presented in its renewed

motion to dismiss, and, as above, fails to connect those arguments to any need—let alone a

“particularized need” or “compelling necessity”—for disclosure of grand jury material. For

example, Concord asserts that the government’s “new FARA interpretation” raises “serious Fifth

Amendment concerns” regarding the need for an indictment to provide “notice” and protect against

double jeopardy. Doc. 217 at 16-17; see also Doc. 210 at 28-29 (same argument). And Concord

cites the recent decisions in Rehaif v. United States, 139 S. Ct. 2191 (2019), and United States v.

Burden, 934 F.3d 675 (D.C. Cir. 2019), as support for its argument regarding what mens rea should

apply in Count One. Doc. 217 at 17-19; see also Doc. 210 at 32-40 (same argument). The

government has responded to these arguments. See Doc. 219 at 13-19. In any event, neither

argument turns on the substance of the grand jury instructions, as Concord can raise these claims

(as it has) by directly challenging the sufficiency and scope of the Indictment. Accordingly,

Concord has failed to establish that these arguments justify the requested disclosure. 5


4
       Concord argues that any “countervailing” reasons for maintaining grand jury secrecy are
diminished in this case. See Doc. 217 at 19-21. The government disagrees, but, regardless, this
argument is of no moment given that Concord has failed to demonstrate any need—let alone a
“compelling necessity” or “particularized need”—for disclosure.
5
       At a minimum, Concord’s request for disclosure based on Reihaf and Burden is premature,
because the Court has yet to pass on whether those cases impact the mens rea standard in this case.
Facing a similar circumstance earlier in this case, the Court denied Concord’s motion for in camera
                                                 10
        Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 11 of 13



       Additional complaints and accusations by Concord, presented primarily in the “Factual and

Procedural Background” of its filing, appear to suggest that disclosure of grand jury material is

somehow justified based on alleged government misconduct. See Doc. 210 at 3-10. The

complaints and accusations are meritless and add no value to Concord’s request for relief. For

example, Concord (at 4-6) rehashes earlier complaints regarding the adequacy of the indictment

and alleged “shifts” in the government’s theory that have been litigated not only in the renewed

motion to dismiss but also through Concord’s motions for a bill of particulars. See, e.g., Doc. 181

at 4-8 (Concord’s motion for a supplemental bill); Doc. 194 (government’s opposition); Sept. 16,

2019 Minute Order (denying motion). Concord also complains about the government’s response

to a discovery request for production of material from the Department of the Treasury, Office of

Foreign Assets Control. Doc. 217 at 6. This complaint, as far as the government can discern, is

entirely unrelated to the instant motion.

       Finally, Concord accuses the government of “gamesmanship,” reciting portions of the

procedural history of the case that Concord finds “highly suspicious.” Doc. 217 at 7. In short,

Concord posits that the government’s October 4 letter was crafted in response to Concord’s

October 1, 2019, motion to strike as surplusage certain allegations regarding “racial issues.” Id.;

see also id. at 7-8 (“Just three days [after the motion to strike], the government proffered its brand-

new theory of culpability that includes the argument that U.S. persons, who are predominantly

African-American, were duped by the Defendants into failing to register under FARA.”) This is

preposterous. As noted above, the October 4 letter, which says nothing about “racial issues,”




review of jury instructions without prejudice, noting that, if the Court were to rule against Concord
regarding the applicable mens rea, the motion regarding grand jury material “would have no basis.”
Doc. 28 at 2. As the Court concluded, the “legal question” regarding mens rea, should be decided
before the Court considers reviewing secret grand jury proceedings.” Id.

                                                  11
        Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 12 of 13



responded to the Court’s order during the September 16, 2019, hearing, and, indeed, it echoed the

government’s explanation at that hearing that, with respect to FARA, “it is possible for a

conspirator to cause someone to violate . . . FARA reporting requirements without that person

being a member of the conspiracy.” Sept. 16, 2019 Hrg. Tr. 51.

        II.     Concord’s Central Premise—that the Government’s Theory of Criminality
                Has Shifted—is Erroneous.

        As noted above, the central premise of Concord’s motion is its claim that the government

has shifted its theory of criminal liability in this case, including through its October 4, 2019, letter

to the defense. See Doc. 217 at 1-10, 13-19; Doc. 217-4 (October 4 letter). As the government

explained in its response to the renewed motion to dismiss, however, “the truth of the matter is

that the government has consistently articulated a single theory of criminal liability:            The

defendants conspired to defraud the United States by engaging in a litany of deceptive conduct

aimed, in part, at impairing the lawful government functions of the DOJ, the FEC, and the State

Department.” Doc. 219 at 14. As the government further explained:

        The government has consistently maintained that the deceptive conduct included,
        but was not limited to, failure to disclose in contravention of a legal duty. See, e.g.,
        Doc. 69 (supplemental government brief). Although the Indictment detailed the
        relevant activities at issue, the bill of particulars specifically identified the
        categories of activity alleged in the Indictment that required disclosure to the FEC
        and DOJ. Consistent with the conduct detailed in the Indictment, the recent letter
        sent to defense counsel at the Court’s instruction explains that one of the ways in
        which this conduct triggered FARA’s reporting requirement was by causing
        individuals within the United States to act. That letter in no way “changed” the
        government’s “FARA theory.” Doc. 210, at 28.

Doc. 219 at 14.

        Here, Concord has simply repackaged the same claim it advanced in the motion to dismiss.

The claim remains erroneous, and Concord’s error is thus an additional reason why the Court

should deny the instant motion.



                                                  12
       Case 1:18-cr-00032-DLF Document 224 Filed 10/30/19 Page 13 of 13



                                       CONCLUSION

       For the foregoing reasons, the Court should deny Concord’s motion.



Respectfully submitted,


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